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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


   U NITED S TATES OF A MERICA              Criminal Action No.
                                            1:19-CR-00346-MHC-JSA
      v.
                                            Civil Action No.
   V INCENT T. P HARR                       1:21-cv-2912-MHC-JSA

                      Response to 28 U.S.C. § 2255 Motion


   The United States of America, by Kurt R. Erskine, Acting United States

Attorney, and Calvin A. Leipold, III, Assistant United States Attorney for the

Northern District of Georgia, hereby files this Response to Vincent Pharr’s 28

U.S.C. § 2255 Motion to Vacate, Set Aside, or Correct Sentence.

                                  Background

   Pharr was convicted, pursuant to his plea, of two counts of a three-count

indictment. Pharr pled guilty to Count 1, which charged a violation of 21 U.S.C.

§§ 841(a)(1) and (b)(1)(D) and Count 2, which charged a violation of 18 U.S.C.

§ 924(c). (Doc. 25). Pursuant to the plea agreement, Count 3 was dismissed.

(Doc. 34 at 17). On April 5, 2020, the Court sentenced Pharr to 21 months on
Count 1 and 60 months on Count 2 to run consecutively, for a total of 81 months

imprisonment. Id. at 18. Pharr did not appeal.

   He filed his present 28 U.S.C. § 2255 motion on July 19, 2021. (Doc. 35). On

July 23, 2021, the Court ordered the government to respond to the motion within
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30 days. (Doc. 36). On August 27, 2021, the court granted the United States an

additional seven days to respond to Pharr’s motion. (Doc. 38). Pharr is currently

incarcerated with a projected release date of May 15, 2025. See Bureau of Prisons,

http://www.bop.gov (last visited August 30, 2021).

                                Statement of Facts

   The PSR determined that the base offense Guideline for 21 U.S.C. § 841(a)

offenses is Section 2D1.1 of the United States Sentencing Guidelines (“U.S.S.G.”),

which indicates a base offense level of 18 due to the defendant being responsible

for 50.5825 kilograms of marijuana. (PSR ¶ 25). The defendant received a two-

level enhancement for maintaining a premises for the purposes of drug

distribution under U.S.S.G. § 2D1.1(b)(12). (PSR ¶ 27). After receiving a three-

level reduction for acceptance of responsibility the defendant has a total offense

level of 17. (PSR ¶¶ 33-34). Pharr’s Criminal History Category (“CH”) was IV.

(PSR ¶ 33). The advisory custody Guidelines range for Count One was

imprisonment for a term of 37-46 months. The advisory custody Guidelines

range for Count 2 was 60 months, which must be served consecutively to Count

1. In total, the PSR calculated the custody Guidelines range at 97-106 months and

a fine of $10,000 to $95,000. (PSR, Part D. Sentencing Options).

   Pharr’s counsel objected to the offense level for Count 1. (Doc. 34 at 5).
Pursuant to the plea agreement, the parties had agreed that 7.7 kilograms of

marijuana was foreseeable to Pharr. Id. at 5-6. The Court sustained defense

counsel’s objection, which changed the attributable drug quantity from over 50
kilograms of marijuana to 7.7 kilograms of marijuana, and imposed a base


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offense level of 12 for Count 1. Id at. 8. This changed the custody guideline for

Count 1 to 21 to 27 months, and did not impact the guideline for Count 2. Id. at

11.

      In arguing for a lower drug weight, defense counsel noted that he considered

a role adjustment for Pharr. Id. at 7. However, counsel noted, “we did not ask

for a role reduction or any of those things because we recognized we were going

to be held responsible for the amount [of drugs] reasonably foreseeable by Mr.

Pharr.” Id.

      The Government recommended a sentence of 87 months, which represented

the high end of the Guidelines on Count 1 and a 60-month mandatory minimum

on Count 2. Id. at 14. Defense counsel requested a sentence of 81 months, the

low end of the Guidelines on Count 1 and a 60-month mandatory minimum on

Count 2. Id. at 16. The District Court, after consideration of the 18 U.S.C.

§ 3553(a) factors, imposed a total sentence of 81 months imprisonment. Id. at 18.

                                      Discussion

      Pharr raises two issues in his motion. First, he claims that due to equitable

tolling, his motion should be considered despite being filed more than one year

after his sentencing date. (Doc. 35 at 6-8). Second, he claims that his counsel was

ineffective at sentencing in two ways: (1) he failed to seek a minor role
adjustment, and (2) counsel failed to seek a reduced sentence due to the COVID-

19 pandemic. (Doc. 35 at 10). Pharr has not met his heavy burden to justify

equitable tolling. Even if he had, he failed to meet his burden under Strickland to




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establish that his counsel provided constitutionally ineffective assistance at

sentencing.


   1. The facts proffered by Pharr do not support equitable tolling of the
      statute of limitations.
   Pharr’s motion is time-barred because it was not filed within one year of any

trigger date under 28 U.S.C. § 2255(f), and he has failed to show that equitable
tolling is warranted. Thus, his motion is untimely.

   Title 28, U.S.C. § 2255(f) establishes a one-year limitation period for § 2255

motions, explicitly requiring that the one-year limitation period shall run from:

   1. the date on which the judgment of conviction becomes final;

   2. the date on which the impediment to making a motion created by

governmental action in violation of the Constitution or laws of the United States
is removed, if the movant was prevented from making a motion by such

governmental action;

   3. the date on which the right asserted was initially recognized by the
Supreme Court, if that right has been newly recognized by the Supreme Court

and made retroactively applicable to cases on collateral review; or

   4. the date on which the facts supporting the claim or claims presented could

have been discovered through the exercise of due diligence.

   28 U.S.C. § 2255(f) (as amended by the AEDPA) (1997).

   “A conviction ordinarily becomes final when the opportunity for direct
appeal of the judgment of conviction has been exhausted.” Akins v. United States,

204 F.3d 1086 (11th Cir. 2000) (citing United States v. Dayton, 981 F.2d 1200, 1203


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(11th Cir. 1993)); see also Washington v. United States, 243 F.3d 1299, 1301 (11th Cir.

2001) (holding that where a defendant is unsuccessful on appeal and files a

petition for certiorari with the Supreme Court, the one-year period begins to run

when the Supreme Court either denies certiorari or issues a decision on the

merits); Kaufmann v. United States, 282 F.3d 1336, 1338 (11th Cir. 2002) (holding

that when a prisoner does not petition for certiorari, his conviction does not

become “final” for purposes of § 2255(f)(1) until the expiration of the 90-day

period for seeking certiorari).

   Pharr’s motion is time-barred under 28 U.S.C. § 2255(f)(1). His conviction

became final on April 19, 2020, the expiration of the 14-day period wherein he

could have filed a direct appeal. See Fed. R. App. P. 4(b)(1)(A); Murphy v. United

States, 634 F.3d 1303, 1307 (11th Cir. 2011) (holding that “when a defendant does

not appeal his conviction or sentence, the judgment of conviction becomes final

when the time for seeking that review expires”). Accordingly, the one-year

statute of limitations for Pharr to file a § 2255 motion expired on April 19, 2021.

Pharr’s present motion, filed on July 23, 2021, falls well outside the one-year time

limitation required by 28 U.S.C. § 2255(f)(1). See Wayne v. Jarvis, 197 F.3d 1098,

1104 (11th Cir. 1999) (recognizing that pro se status does not excuse a defendant’s

“lack of compliance with a deadline imposed by law,” as “[l]iberal construction
does not mean liberal deadlines”), overruled in part on other grounds by

Manders v. Lee, 338 F.3d 1304, 1328 n. 52 (11th Cir. 2003)); see also Loren v. Sasser,

309 F.3d 1296, 1304 (11th Cir. 2002) (“[d]espite construction leniency afforded pro
se litigants, we nevertheless have required them to conform to procedural


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rules”); Garvey v. Vaughn, 993 F.2d 776, 780 n. 11 (11th Cir. 1993) (collecting cases

concluding that the rationale of Houston v. Lack—the Supreme Court decision

that held that a pro se prisoner’s notice of appeal is deemed filed when it is

delivered to prison authorities—had not created “an exception for a pro se

inmate to [otherwise] evade time requirements,” and does not excuse inmates

who deliver papers to prison officials after the deadline); Brandau v. Warden, 476

F. App’x 367, 369 (11th Cir. 2012) (“Although we liberally construe pro se filings,

we nonetheless require that they comply with procedural rules, including

applicable filing deadlines”) (citing Moton v. Cowart, 631 F.3d 1337, 1341 n.2 (11th

Cir. 2011)).

   “In the § 2255 context, equitable tolling ‘is appropriate when a movant

untimely files because of extraordinary circumstances that are both beyond his

control and unavoidable even with diligence.’” Jones v. United States, 304 F.3d

1035, 1039 (11th Cir. 2002) (quoting Sandvik v. United States, 177 F.3d 1269, 1271

(11th Cir. 1999) (per curiam)). However, “[b]ecause it is ‘an extraordinary

remedy,’. . . equitable tolling has been permitted by federal courts ‘only
sparingly.’” Jones, 304 F.3d at 1038-39. Further, “[t]he petitioner has the burden

of proving entitlement to equitable tolling by showing that ‘extraordinary

circumstances that were both beyond his control and unavoidable even with
diligence’ prevented filing the petition on time.” Jones, 304 F.3d at 1040.




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   Here, Pharr alleges a series of events that denied him access to a law library to

research and file his motion over a period of multiple months. (Doc. 35 at 6-8). 1

These events occurred to the restrictions imposed on inmates due to the COVID-

19 pandemic. In essence, Pharr was kept in his cell, as were other inmates, to

mitigate the spread of COVID-19 inside the prison. Id. Once those restrictions

were lifted, he filed his motion within sixty days.

   The facts alleged by Pharr are not sufficient to meet the extraordinary

circumstances required to justify equitable tolling. Pharr argues that he was not

allowed access to a law library. Even so, as with the lack of legal knowledge,

lack of access to a law library is not an extraordinary circumstance warranting
equitable tolling. Akins v. United States, 204 F.3d 1086, 1090 (11th Cir. 2000) (" The

mere inability of a prisoner to access the law library is not, in itself, an

unconstitutional impediment"); United States v. Delqado, 2003 WL 21219850, *2
(S.D.N.Y. May 22, 2003) (unpublished) (petitioner claimed that during his time in

state custody and segregated housing he had limited to no access to federal legal

materials; however, a lack of access to legal resources is not considered an

extraordinary circumstance); Robinson v. Schafer, 305 F. App’x 629, 630 (11th Cir.

2008) (pro se status, ignorance of the law, and slow or delayed administrative

processes do not warrant equitable tolling); Cross Bey v. Gammon, 322 F.3d 1012,
1015 (8th Cir. 2003) (“‘[e]ven in the case of an unrepresented prisoner alleging a


   1 The Government spoke with an employee of FCI Herlong and verified that
the restrictions imposed on Pharr during his time at that facility were consistent
with the restrictions alleged in his motion.


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lack of legal knowledge or legal resources, equitable tolling has not been

warranted’”) (internal citations omitted)).

   “[Plrison law libraries and legal assistance programs are not ends in

themselves, but only the means for ensuring a reasonably adequate opportunity

to present claimed violations of fundamental constitutional rights to the courts."

Lewis v. Casey, 518 U.S. 343, 351, 116 S. Ct. 2174 (1996) (internal quotations

omitted); see also Akins, 204 F.3d at 1090 (inmate must show that inability to

access the law library caused actual harm, i.e., unconstitutionally prevented him

from exercising the fundamental right of access to the courts).

   Moreover, in order to prevail under 28 U.S.C. § 2255(f)(2), the alleged

governmental impediment must be unconstitutional and “not reasonably related

to legitimate penological interests.” Akins, 204 F.3d at 1090 (internal citations and

quotations omitted); Al-Amin v. Smith, 511 F.3d 1317 (11th Cir. 2008) (citing

Turner v. Safley, 482 U.S. 78, 89, 107 S.Ct. 2254 (1987)) (when a prison regulation

impinges on inmates’ constitutional rights, the regulation is valid if it is

reasonably related to a legitimate penological interest). Here, Pharr states that

the lockdowns in the various facilities where he was held were based on COVID-

19. (Doc. 35 at 6-8). The Bureau of Prisons has a legitimate penological interest

in taking measures to stop the spread of a deadly pandemic. Pharr has made no
showing, and does not even attempt to argue, that the lockdowns were not

reasonably related to a penological interest of the BOP. See, e.g., Sanchez v. United

States, 170 F. App'x 643, 647 (11th Cir. 2006) ("[A]n alleged governmental
impediment must be unconstitutional, such as one that is not reasonably related


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to legitimate penological interests." (cleaned up)); cf. United States v. Courson, 835

F. App'x 546, 547 (11th Cir. 2021) ("The prison's pandemic-related library

restrictions are reasonably related to a legitimate interest." (cleaned up)). Pharr

still had access to the mail and could have filed a motion within the one-year

statute of limitations. Accordingly, Pharr cannot claim the governmental-

impediment exception of § 2255(f)(2).


   2. Pharr has failed to meet his burden under Strickland to establish that his
      counsel’s representation fell below an objective standard of
      reasonableness, and that he was prejudiced by counsel’s alleged errors.
   According to Pharr, he was entitled to a downward adjustment for his minor

role in the offense under Section 3B1.2 of the United States Sentencing

Guidelines. (Doc. 35 at 10). Further, he argues that his counsel was ineffective

for failing to seek a downward variance or departure at sentencing due to

COVID-19. Id. at 26-27. But Pharr has failed to meet his burden under Strickland

as to any allegation of ineffective assistance at sentencing.



   A. Standard for Establishing Ineffective Assistance of Counsel

   In order to prevail on a claim of ineffective assistance of counsel, a defendant

has the burden to prove by a preponderance of the evidence both incompetence

and prejudice, i.e., that “(1). . . counsel’s representation fell below an objective
standard of reasonableness [incompetence], and (2). . . there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different [prejudice].” Chandler v. United States, 218



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F.3d 1305, 1312-13 (11th Cir. 2000) (en banc); see also Strickland v. Washington, 466

U.S. 668 (1984). But “there is no reason for a court deciding an ineffective

assistance claim . . . to address both components of the inquiry if the defendant

makes an insufficient showing on one.” Strickland, 466 U.S. at 697; Chandler, 218

F.3d at 1312.

   “‘Counsel’s competence . . . is presumed and the [defendant] must rebut this

presumption by proving that his attorney’s representation was unreasonable

under prevailing professional norms[.]” Chandler, 218 F.3d at 1315, n.15

(alterations and emphasis in original) (noting that the “presumption of

competence must be disproved by a petitioner”). “Never does the government

acquire the burden to show competence, even when some evidence to the

contrary might be offered by the petitioner.” Id. The standard for evaluating

counsel’s performance is “‘reasonableness under prevailing professional

norms.’” Chandler, 218 F.3d at 1313. To prove ineffectiveness, a defendant must

show that his attorney’s representation “fell outside the wide range of

professionally competent assistance.” Id. at 1314 (internal quotation marks

omitted). “This standard of effectiveness applies equally to both the guilt and

the sentencing phases of the trial.” Mills v. Singletary, 63 F.3d 999, 1020 (11th Cir.

1995); Strickland, 466 U.S. at 686-87.
   When evaluating an attorney’s performance, the court must be highly

deferential. Chandler, 218 F.3d at 1314. The court “must avoid second-guessing

counsel’s performance.” Id. Instead, the court must “indulge [the] strong
presumption that counsel’s performance was reasonable and that counsel made


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all significant decisions in the exercise of reasonable professional judgment.” Id.

(internal quotation marks omitted) (alteration in original). Thus, “counsel cannot

be adjudged incompetent for performing in a particular way in a case, as long as

the approach taken ‘might be considered sound trial strategy.’” Id. (quoting

Darden v. Wainwright, 477 U.S. 168 (1986)). “[B]ecause counsel’s conduct is

presumed reasonable, for a petitioner to show that the conduct was

unreasonable, a petitioner must establish that no competent counsel would have

taken the action that his counsel did take.” Chandler, 218 F.3d at 1315. Moreover,

when reviewing counsel’s performance, the court “must evaluate the

reasonableness of counsel’s performance from counsel’s perspective at the time,”

not with the distortion of hindsight. Id. at 1316. “The reasonableness of a

counsel’s performance is an objective inquiry.” Id. at 1315.

   To show prejudice, a defendant must show more than simply that counsel’s

conduct might have had “some conceivable effect on the outcome of the

proceeding.” Strickland, 466 U.S. at 693. “Virtually every act or omission of

counsel would meet that test, and not every error that conceivably could have

influenced the outcome undermines the reliability of the result of the

proceeding.” Id. (internal citation omitted). Instead, a defendant must show a

“reasonable probability that, but for counsel’s unprofessional errors, the result of
the proceeding would have been different.” Id. at 694, 2068. “A reasonable

probability is a probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694. Prejudice is established only by showing that the




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result of the proceeding was fundamentally unfair or unreliable. Lockart v.

Fretwell, 506 U.S. 364, 372 (1993).

   B. Analysis

   First, Pharr has failed to carry his burden under Strickland to establish
incompetence. He alleges that counsel was ineffective for failing to request a

minor role adjustment. (Doc. 35 at 10). However, his counsel clearly considered

whether he believed that Pharr was entitled to a role reduction. (Doc. 34 at. 7).

Counsel did not object because Pharr was only held accountable for the drugs

reasonably foreseeable to him – the 7.7 kilograms of marijuana packaged in the

apartment. He was not held accountable for any of the vape pens or THC
gummies that the PSR attributed to him. (PSR ¶ 25). Defense counsel

successfully objected to the drug weights listed in the PSR. This caused a

reduction in Pharr’s recommended Guideline sentence from 37-46 months to 21-

27 months. (PSR, Part D. Sentencing Options; Doc. 34 at 11).

   Importantly, counsel’s decision to not object was well grounded in the law of

the 11th Circuit. When seeking a mitigating role adjustment, “[t]he proponent of

the downward adjustment — here the defendant — always bears the burden of

proving a mitigating role in the offense by a preponderance of the evidence.”

United States v. De Varon, 175 F.3d 930, 939 (11th Cir. 1999). To be entitled to a
minor role adjustment, a defendant must prove that he is “less culpable than

most other participants in the criminal activity, but whose role could not be

described as minimal.” USSG §3B1.2, cmt. n.5. The district court has




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“considerable discretion in making this fact-intensive determination.” United

States v. Boyd, 291 F.3d 1274, 1277-78 (11th Cir. 2002).

   In determining a defendant’s role in the offense, the district court must

“[f]irst, and most importantly . . . measure the defendant’s role against the

relevant conduct for which [he] was held accountable at sentencing.” De Varon,

175 F.3d at 940, 945. And “we recognize that in many cases this [first] method of

analysis will be dispositive.” Id. at 945. “In other words, the district court must

assess whether the defendant is a minor or minimal participant in relation to the

relevant conduct attributed to the defendant in calculating [his] base offense

level.” Id. at 941. “This methodology is essential to any evaluation of mitigating

role.” Id. at 944. “Only if the defendant can establish that [he] played a

relatively minor role in the conduct for which [he] has already been held

accountable — not a minor role in any larger criminal conspiracy —should the

district court grant a downward adjustment for minor role in the offense.” Id.

“Second, the district court may also measure the defendant’s role against the

other participants, to the extent that they are discernable, in that relevant

conduct.” Id. at 944-45.

   Here, the relevant conduct that the defendant was held accountable for was

only the 7.7 kilograms of marijuana. Not the larger conspiracy involving a tractor
trailer full of money, the vape pens or THC gummies in the apartment, or the

nationwide marijuana smuggling scheme discussed by Pharr in his motion.

(Doc. 35 at 13-15). Pharr did not have a minor role in the relevant conduct for
which he was held accountable. This is dispositive under the first prong of the


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De Varon analysis and ends the inquiry of whether Pharr was entitled to a role

adjustment. De Varon, 175 F.3d at 945. Recognizing that this was the law,

counsel for Pharr did not request a role adjustment, as Pharr was not entitled to

one. Counsel’s decision to object to the attributed drug quantity, resulted in a

six-level reduction in Pharr’s guidelines. However, it also eliminated any

argument that Pharr had a minor role in the relevant conduct, which would have

granted him a two-level reduction. Choosing, and obtaining, a six-level

reduction at the cost of a potential two-level reduction is sound strategy.

Certainly, it represents “‘reasonableness under prevailing professional norms.’”

Chandler, 218 F.3d at 1313. It is hard to imagine any non-frivolous argument

counsel could have made that would have persuaded the court to find that Pharr

had a minor role in possessing only the drugs he was held accountable for that

were found in his possession.

   Thus, Pharr has failed to establish that his counsel was incompetent for failing

to seek a role adjustment. See Wilson v. United States, 962 F.2d 996, 998 (11th Cir.

1992) (the court held the real problem with Wilson’s ineffective assistance

argument is that he has not suggested any factual basis upon which counsel

could have relied, and Wilson has neither shown counsel’s performance to be

inadequate nor any resulting prejudice except for his own bald assertion that
counsel was ineffective); see also Bolender v. Singletary, 16 F.3d 1547, 1573 (11th

Cir. 1994) (holding that “it is axiomatic that the failure to raise nonmeritorious

issues does not constitute ineffective assistance”); Chandler v. Moore, 240 F.3d 907,
917 (11th Cir. 2001) (holding that counsel is not ineffective for failing to raise a


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non-meritorious issue); Freeman v. Attorney General, Florida, 536 F.3d 1225, 1233

(11th Cir. 2008) (“A lawyer cannot be deficient for failing to raise a meritless claim”);

Francois v. Wainwright, 741 F.2d 1275, 1285 (11th Cir. 1984) (holding that failure

by counsel to brief issues “reasonably considered to be without merit” does not

constitute ineffective assistance (internal quotation marks omitted)).

   Pharr also argued that his counsel was ineffective for failing to argue for a

lower sentence due to COVID-19. (Doc. 35 at 22). However, Pharr cites to no

cases that support this novel argument, and the Government is also aware of no

courts finding that a failure to argue for a lower sentence due to the COVID-19

pandemic makes defense counsel ineffective. Indeed, as Pharr notes, the District

Court was well aware of the pandemic as the sentencing hearing was held

remotely. Id. at 23.

   Pharr then alleges a series of health issues that put him at risk for COVID-19.

Id. at 24-26. Pharr claims that he is obese, which is borne out in the PSR’s

statement that he weighs 360 pounds. (PSR ¶ 71). He then claims to have

hypertension and a heart murmur. (Doc. 35 at 25). However, none of these

conditions are reflected in the PSR. Instead, Pharr told the probation officer that

he was healthy and had no history of health issues. (PSR ¶ 72).

   There was no evidence that Pharr had health issues, other than being obese,
that placed him at increased risk for COVID-19. There is no evidence that Pharr

made anyone aware of his medical issues. However, there is direct evidence

from Pharr’s statements to the probation officer, that he did not have any
significant health concerns. Id. Accordingly, his counsel had no basis to


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effectively argue for a downward variance or departure in his sentence. 2 Thus,

Pharr has failed to establish that his counsel was incompetent for failing to seek a

downward variance or departure. Wilson v. United States, 962 F.2d 996, 998 (11th

Cir. 1992).
   Second, in addition to the fact that Pharr has failed to carry his burden to

establish that his counsel was incompetent, so this court need not address the

prejudice prong, Pharr also cannot establish prejudice. See Strickland, 466 U.S. at
697 (“there is no reason for a court deciding an ineffective assistance claim to . . .

address both components of the inquiry if the defendant makes an insufficient

showing on one”). To show prejudice “[i]n the sentencing context, the defendant
must show a reasonable probability that his sentence would have been

different.” United States v. Alvarez, 184 F. App’x 876, 881 (11th Cir. 2006). Here,

the District Court rejected the sentence sought by the Government and sentenced

Pharr as requested by his counsel. (Doc. 34 at 16, 18).




   2Pharr’s stated medical condition as reflected in the PSR does not meet the
Guidelines policy statement regarding a basis for downward departures due to
health concerns. U.S.S.G. § 5H1.4.


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   The record shows that the district court carefully considered and applied all

of the 18 U.S.C. § 3553(a) factors, and fashioned a reasonable sentence. (Doc. 34

at 20-24). Nothing in the record indicates that the court would have for any

reason sentenced Pharr below 81 months. (Doc. 34). Pharr simply speculates in

his motion that he would have received a lower sentence if counsel made an

argument based on a role adjustment or COVID-19. (Doc. 35 at 27-29). And

“where the effect of an error on the result in the district court is uncertain or

indeterminate—where we would have to speculate—the [defendant] has not met

his burden of showing a reasonable probability that the result would have been

different but for the error; he has not met his burden of showing prejudice.”

United States v. Rodriguez, 398 F.3d 1291, 1301 (11th Cir. 2005); see also United

States v. Jones, 614 F.2d 80, 82 (5th Cir. 1980) (defendant’s contentions are wholly

conclusory and unsupported by factual allegations or proof, and as such are

without merit).

   Pharr has failed to meet his burden under Strickland to establish as to any

claim raised that his counsel’s representation fell below an objective standard of

reasonableness, and that he was prejudiced by counsel’s alleged errors. Thus, his

claims of ineffective assistance of counsel at sentencing should be denied.

   3. A hearing is not required to resolve Pharr’s claims.

      “A hearing is not required on patently frivolous claims or those which are

   based upon unsupported generalizations. Nor is a hearing required where

   the petitioner’s allegations are affirmatively contradicted by the record.”



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Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (quoting United

States v. Guerra, 588 F.2d 519, 520-21 (5th Cir. 1979)). “A federal habeas corpus

petitioner is entitled to an evidentiary hearing only where the petitioner

alleges facts which, if proven, would entitle him to relief.” Futch v. Dugger,

874 F.2d 1483, 1485 (11th Cir. 1989). Accordingly, where a claim is arguably

valid, and it cannot be “conclusively” rejected based on the face of “the

motion and the files and records of the case” alone, an evidentiary hearing is

necessary. 28 U.S.C. § 2255.

   Here, Pharr does not allege facts that are not found in the record of the

case. Pharr’s claims can be conclusively resolved by this Court without an

evidentiary hearing. Pharr’s claim that he is entitled to a minor role

adjustment is affirmatively contradicted by the record. Further, he cites no

supporting law to show that failing to request a variance due to the COVID-

19 pandemic constitutes ineffective assistance of counsel.




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                             CONCLUSION

For the foregoing reasons, Pharr’s 28 U.S.C. § 2255 motion should be denied.




                                     Respectfully submitted,

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September 1, 2021


                                           /s/ C ALVIN A. L EIPOLD , III

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